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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  GREGORY GREENE, individually and on
  behalf of all others similarly situated,
                                                      Case No. 1:14-cv-01437
                          Plaintiffs,
                                                      Hon. Gary Feinerman
  v.

  MARK KARPELES, an individual

                          Defendant.




                      DECLARATION OF BENJAMIN S. THOMASSEN

         Pursuant to 28 U.S.C. § 1746, I declare the following:

         1.     My name is Benjamin S. Thomassen. I am an attorney of record in the above-

captioned matter for Plaintiff Gregory Greene. The following Declaration is made on my

personal knowledge, except where otherwise noted.

         2.     Attached hereto as Exhibit A is a true and accurate copy of excerpts from the

deposition transcript of Mark Karpeles, taken in this matter on November 5, 2019 in Tokyo,

Japan.

         3.     Attached hereto as Exhibit B is a true and accurate copy of excerpts from

Defendant Mark Karpeles’s Responses and Objections to Plaintiff Gregory Greene’s First Set of

Interrogatories (“Interrogatory Responses”).

         4.     Attached hereto as Exhibit C is a true and accurate copy of the Mt. Gox Terms of

Use that applied to United States (“U.S.”) users of the Exchange. The copy was originally pulled

from the Internet Archive and filed in this case at dkt. 11-2. Karpeles agreed that the document,


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which was presented to him in his deposition, accurately represents Mt. Gox’s Terms of Use that

applied to U.S. users of the Exchange. (Ex. A at 92:4–96:13.) Karpeles further agreed that the

Internet Archive accurately stores the contents of documents from the Internet. (Id. at 94:1–7.)

        5.         Attached hereto as Exhibit D is a true and accurate screenshot of a forum post

made by Mark Karpeles (using the username MagicalTux) on the bitcointalk.org website on

September 10, 2012. The post is available online at:

https://bitcointalk.org/index.php?topic=23938.msg1177353#msg1177353. In his written

Interrogatory Responses, Karpeles indicated he used the username “MagicalTux” on the

bitcointalk.org forums. (See Ex. B at Resp. No. 4.)

        6.         Attached hereto as Exhibit E is a true and accurate copy of an email from Mark

Karpeles to Jed McCaleb from January 28, 2011. This email was introduced at Mr. Karpeles’s

deposition. (See Ex. A at 37:13–38:11.)

        7.         Attached hereto as Exhibit F is a true and accurate copy of excerpts of electronic

communications between Mark Karpeles and Jed McCaleb. At his deposition, Karpeles agreed

that the log appears to be an accurate reproduction of communications between himself and

McCaleb. (Id. at 46:4–47:24.)

        8.         Attached hereto as Exhibit G is a true and accurate copy of an archived version of

a post made on the Mt. Gox website and signed by Mark Karpeles. The copy was pulled from the

Internet Archive on October 29, 2020 at the following URL:

http://web.archive.org/web/20110919162635/https:/mtgox.com/press_release_20110630.html. It

is also referenced in the Declaration of Carol R. Goforth at paragraph 34. Karpeles agreed, in his

deposition, that the Internet Archive accurately stores the contents documents from the Internet.

(Id. at 94:1–7.)




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        9.     Attached hereto as Exhibit H is a true and accurate copy of the Declaration of

Carol R. Goforth, which Plaintiff disclosed to Karpeles pursuant to Fed. R. Civ. P. 26(a)(2).

        10.    Attached hereto as Exhibit I is a true and accurate copy of excerpts from the

deposition transcript of David S. Pelleg, taken in this matter on September 25, 2020, by video.

        11.    Attached hereto as Exhibit J is a true and accurate copy of Plaintiff Gregory

Greene’s First Answers to Defendant Mark Karpeles’s First Set of Interrogatories.

        12.    Attached hereto as Exhibit K is a true and accurate copy of excerpts from the

deposition transcript of Gregory Greene, taken in this matter on November 11, 2019, in Chicago,

Illinois.

        13.    Attached hereto as Exhibit L is a true and accurate copy of a Declaration signed

by Gregory Greene on February 18, 2020.

        14.    Attached hereto as Exhibit M is a true and accurate copy of a 50-state survey of

jury instructions compiled by my office during the month of October 2020.

        15.    Attached hereto as Exhibit N is a true and accurate copy of Edelson PC’s firm

resume.

        16.    Plaintiff Gregory Greene has been actively involved in this litigation (apart from

the period where Mark Karpeles did not participate and the case proceeded only against Mizuho

Bank). He has regularly kept in touch with my office, assisted in responding to discovery

requests (both in terms of providing information and allowing his personal email accounts to be

searched for responsive documents), and sat for a deposition. He has helped our firm make key

decisions in the case, been kept apprised of all developments, and is highly invested in achieving

an outcome favorable to the putative Class.




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I declare under the penalty of perjury that the foregoing is true and correct.

Dated: October 30, 2020                       /s/ Benjamin S. Thomassen




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